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                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      20 Massachusetts Avenue NW
                                                      Washington, DC 20530



                                                                November 14, 2017
  By ECF and Fax
  The Honorable Nicholas G. Garaufis
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re: Batalla Vidal, et al., v. Duke, et al., 16-cv-4756 (NGG) (JO)

  Dear Judge Garaufis:

         Defendants respectfully write to clarify the record regarding Plaintiffs’ request for a pre-
  motion conference, made by letter earlier this morning. ECF No. 105.

          On November 7, 2017, Plaintiffs emailed a letter to Defendants regarding thirteen
  individual DACA renewal requests, and requested a response by close of business on November
  13, 2017. Ex. 1, Nov. 7, 2017 Ltr. from A. Taylor to S. Pezzi. Undersigned counsel for Defendants
  acknowledged receipt and responded by email thirty minutes later. Counsel informed Plaintiffs
  that Defendants would provide a substantive response as soon as possible, and also sought
  clarification regarding some of the factual submissions that Plaintiffs had omitted from their letter.
  Ex. 2, Nov. 7, 2017 Email Chain. Counsel for Defendants immediately contacted the Department
  of Homeland Security (DHS) and United States Citizenship and Immigration Services (USCIS) to
  investigate the factual assertions made in Plaintiffs’ November 7 letter.

          On the evening of Friday, November 10 (a federal holiday), Plaintiffs sent a separate email
  to undersigned counsel noting, for the first time, that they intended file a request for a pre-motion
  conference over the weekend, notwithstanding their prior suggestion that they did not intend to
  seek relief from the Court any earlier than close of business on Monday, November 13.
  Undersigned counsel responded by email on Saturday morning, and asked that Plaintiffs honor
  their original commitment to wait until close of business on Monday, November 13, to allow the
  meet-and-confer process to continue, and to allow DHS and USCIS sufficient time to retrieve the
  factual information necessary to respond to Plaintiffs’ letter. Plaintiffs agreed to do so. Ex. 3,
  Nov. 10-11 Email Chain.

          At close of business on Monday, November 13, Defendants responded by letter to
  Plaintiffs’ letter of November 7. Defendants’ letter, which is attached to this filing as Exhibit 4,
  identified certain material factual inaccuracies in Plaintiffs’ letter. As for the substance of
  Plaintiffs’ request that USCIS reconsider the denials of these particular requests on timeliness
  grounds, however, the letter noted that additional time was needed for Defendants to provide a
  final response to Plaintiffs’ request, and offered to discuss the matter further later this week, with
  the hope that the parties might be able to reach some common ground on at least some of the issues
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  Plaintiffs had raised. Defendants did not “decline[] to adjudicate the thirteen applications,” ECF
  No. 104 at 2, and in fact explicitly noted that further conversations would be necessary and
  appropriate on that precise issue.

          At 12:59 AM this morning, counsel for Plaintiffs emailed undersigned counsel raising, for
  the first time, a request for relief regarding an estimated 4,000 renewal requests, mentioning
  processing delays apparently caused by the U.S. Postal Service, and noting that Plaintiffs would
  be filing a request for a pre-motion conference on these issues. The email did not ask for
  Defendants’ position on Plaintiffs’ requested relief. Ex. 5, Nov. 13-14, 2017 Email Chain.

          At 8:51 AM this morning, Plaintiffs filed their request for a pre-motion conference, which
  mischaracterized Defendants’ response (including by inaccurately calling it an email), without
  actually attaching the letter. Plaintiffs’ filing also raises a host of factual issues—both regarding
  individual (and sometimes unidentified) DACA requestors, and the overall renewal process—that
  have never been presented to or discussed with Defendants.

          Counsel for Defendants continues to work expeditiously with DHS and USCIS to
  investigate the factual assertions Plaintiffs have made, including the new factual assertions made
  for the first time today. Defendants continue to believe that the meet-and-confer process should
  continue, as there is at least some chance that further discussion and negotiation between the parties
  might obviate the need for additional litigation, or at least narrow its scope.

          Defendants also note that Plaintiffs have not yet responded to Defendants’ request that they
  share with Defendants a draft of any proposed third amended complaint, and that without further
  information about the nature of any forthcoming amendment it is impossible for Defendants to
  take a position regarding whether amendment would be appropriate at this stage of the litigation.
  That is even more so where, as here, Plaintiffs have not yet responded to Defendants’ motion-to-
  dismiss arguments under Rule 12(b)(6), some of which might very well be dispositive of any new
  (and as-yet undefined) claims in a third amended complaint. Accordingly, Defendants respectfully
  submit that the most efficient use of the parties’ and the Court’s time would be to allow the meet-
  and-confer process to continue, at least through the remainder of this week. If the parties are
  unable to reach an agreement that is satisfactory to Plaintiffs, they may seek relief at that time,
  including by attaching a proposed third amended complaint.

           Although Defendants are aware that this Court’s individual practices generally do not
  contemplate responses to a letter request for a pre-motion conference, Defendants are submitting
  this filing in order to ensure that the Court has an accurate and complete record in evaluating
  Plaintiffs’ request. Defendants thank the Court for consideration of the issues raised in this letter.

                                                 Respectfully submitted,

                                                 CHAD A. READLER
                                                 Acting Assistant Attorney General

                                                 BRIDGET M. ROHDE
                                                 Acting United States Attorney


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                                     BRETT A. SHUMATE
                                     Deputy Assistant Attorney General

                                     JENNIFER D. RICKETTS
                                     Director, Federal Programs Branch

                                     JOHN R. TYLER
                                     Assistant Branch Director

                                     BRAD P. ROSENBERG
                                     Senior Trial Counsel

                                     /s/ Stephen M. Pezzi
                                     STEPHEN M. PEZZI (D.C. Bar #995500)
                                     KATE BAILEY
                                     Trial Attorneys
                                     United States Department of Justice
                                     Civil Division, Federal Programs Branch
                                     20 Massachusetts Ave., N.W.
                                     Washington, DC 20530
                                     Tel.: (202) 305-8576
                                     Fax: (202) 616-8470
                                     Email: stephen.pezzi@usdoj.gov

                                     JOSEPH A. MARUTOLLO
                                     Assistant U.S. Attorney
                                     United States Attorney’s Office
                                     Eastern District of New York
                                     271-A Cadman Plaza East, 7th Floor
                                     Brooklyn, NY 11201
                                     Tel: (718) 254-6288
                                     Fax: (718) 254-7489
                                     Email: joseph.marutollo@usdoj.gov

                                     Counsel for Defendants

  CC:

  All Counsel of Record (by ECF)




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